                                                                        Case 21-14486-abl         Doc 126        Entered 11/10/21 16:44:57             Page 1 of 3




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                                                            11
                                                                                                UNITED STATES BANKRUPTCY COURT
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                                                                                                            DISTRICT OF NEVADA
                     LAS VEGAS< NEVADA 89134




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                                                            14       In re:                                                   Case No.:        21-14486-abl
                                                                                                                              Chapter          7
                                                            15       INFINITY CAPITAL MANAGEMENT, INC;
                                                                     dba INFINITY HEALTH CONNECTIONS,                         DECLARATION IN SUPPORT OF REPLY
                                                            16                                                                IN SUPPORT OF MOTION TO (1)
                                                                                                                              ABANDON PROPERTY AND (2) LIFT THE
                                                            17                      Debtor.                                   AUTOMATIC STAY

                                                            18

                                                            19   I, Chad Meyer, pursuant to 28 U.S.C. § 1746, declare as follows:
                                                            20                1.   My name is Chad Meyer. I am over the age of twenty one years, of sound mind, and
                                                            21   fully competent to testify in this cause. I have personal knowledge of the facts stated herein, all of
                                                            22   which are true and correct.
                                                            23                2.   I am a principal of Tecumseh – Infinity Medical Receivable Fund, LP, (“Tecumseh”),
                                                            24   a party interest, in the above-referenced bankruptcy matter. In my role as a principal of Tecumseh, I
                                                            25   am responsible for Tecumseh’s investments in medical receivables, including receivables serviced by
                                                            26   Infinity Capital Management Inc. (the “Debtor”), pursuant to the Sub-Advisor Agreement. 1
                                                            27

                                                            28   1
                                                                  All capitalized terms shall take on the meaning ascribed to them in the Motion to (1) Abandon Property and (2) Lift the
                                                                 Automatic Stay [ECF No. 57] unless otherwise defined herein.
                                                                                                                          1
                                                                     Case 21-14486-abl         Doc 126        Entered 11/10/21 16:44:57     Page 2 of 3




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                                                                        3.      Based on my work investing in receivables, I am aware that receivables lose value if
                                                             2
                                                                 someone is not tracking the underlying litigation, maintaining contact with lawyers and negotiating
                                                             3
                                                                 final payment. The Debtor ceased all business operations as of the petition date, September 14, 2021.
                                                             4
                                                                 The Trustee is not operating the Debtor and is not servicing or collecting upon the Receivables. As
                                                             5
                                                                 such, there has been no oversight, management, or administration of the Tecumseh Receivables. This
                                                             6
                                                                 means that there is no oversight of the personal injury claims underlying the Tecumseh Receivables
                                                             7
                                                                 or communication with the plaintiff's lawyers associated with these Receivables. Without such regular
                                                             8
                                                                 servicing and concerted collection efforts, the Tecumseh Receivables have and will continue to rapidly
                                                             9
                                                                 dissipate in value.
                                                            10
                                                                        4.      I am personally aware that Debtor’s principals, Anne Pentalas and Oliver Hemmers,
                                                            11
                                                                 have received a substantial number inquiries from plaintiffs’ lawyers seeking to coordinate payment,
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                                                                 negotiate payment terms, obtain medical records and releases, and subpoena records. Generally,
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                                                                 Debtor’s principals have explained that they are unable to provide any assistance due to the limitations
                                                            14
                                                                 and restrictions imposed by the bankruptcy system.
                                                            15
                                                                        5.      On occasion, Debtor’s principals have directed inquiries to Tecumseh. Due to the
                                                            16
                                                                 bankruptcy and the Trustee’s assertion of control over the Tecumseh Receivables, we have not been
                                                            17
                                                                 able to respond to these inquiries. Nor have we been able to service these receivables by tracking cases,
                                                            18
                                                                 contacting counsel, demanding payment and negotiating settlements.
                                                            19
                                                                        6.      For example, on October 6, 2021, a plaintiff’s attorney, needing to negotiate payment
                                                            20
                                                                 of a Tecumseh Receivable, explained to Tecumseh that over the course of a month he made extensive
                                                            21
                                                                 unsuccessful efforts to contact the Debtor. The attorney indicated that in the absence of further
                                                            22
                                                                 guidance he would close the matter and disperse remaining funds to his client. The very next day,
                                                            23
                                                                 another plaintiff’s attorney called Tecumseh with an urgent request for medical records for a complex
                                                            24
                                                                 personal injury case in active litigation.
                                                            25
                                                                        7.      As it stands now, since no one is servicing the Tecumseh Receivables, there is no party
                                                            26
                                                                 to whom Tecumseh can direct such requests —not the Debtor who is out of business, and not the
                                                            27
                                                                 Trustee who asserts control over the Receivables as alleged property of the estate. And absent relief
                                                            28
                                                                 from the Court, Tecumseh itself is not allowed to do so.
                                                                                                                 2
                                                                     Case 21-14486-abl      Doc 126     Entered 11/10/21 16:44:57       Page 3 of 3




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                                                                        8.     Each day Tecumseh’s efforts are halted and the Trustee stands by taking no action to
                                                             2
                                                                 preserve the value of the Tecumseh Receivables, our receivables dissipate in value, causing serious
                                                             3
                                                                 harm to Tecumseh.
                                                             4

                                                             5                                                                     Chad Meyer
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